                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 LUCRETIA BUCHANAN,                                  )
                                                     )
                Petitioner,                          )
                                                     )
 v.                                                  )       Nos: 3:09-cr-038
                                                     )            3:10-cv-561
                                                     )            (VARLAN/SHIRLEY)
 UNITED STATES OF AMERICA,                           )
                                                     )
                Respondent.                          )


                                       MEMORANDUM

        This is a motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255

 filed by petitioner Lucretia Buchanan ("petitioner"). The government has filed its response

 to the motion. For the following reasons, the § 2255 motion to vacate will be DENIED and

 this action will be DISMISSED.

 I.     Standard of Review

        This Court must vacate and set aside petitioner's conviction upon a finding that "there

 has been such a denial or infringement of the constitutional rights of the prisoner as to render

 the judgment vulnerable to collateral attack." 28 U.S.C. § 2255. To prevail under § 2255,

 petitioner "must show a 'fundamental defect which inherently results in a complete

 miscarriage of justice,' or, an error so egregious that it amounts to a violation of due process."

 United States v. Ferguson, 918 F.2d 627, 630 (6th Cir. 1990) (quoting Hill v. United States,

 368 U.S. 424, 428 (1968)).




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          Under Rule 8 of the Rules Governing Section 2255 Proceedings In The United States

 District Courts, the Court is to determine after a review of the answer and the records of the

 case whether an evidentiary hearing is required. If the motion to vacate, the answer and the

 records of the case show conclusively that petitioner is not entitled to relief under § 2255,

 there is no need for an evidentiary hearing. Baker v. United States, 781 F.2d 85, 92 (6th Cir.

 1986).

 II.      Factual Background

          Petitioner pleaded guilty, pursuant to a plea agreement, to conspiracy to distribute and

 possess with intent to distribute 50 grams of more of a mixture containing a detectable

 amount of cocaine base, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A); aiding

 and abetting maintaining a place for the purpose of manufacturing and distributing cocaine

 base, in violation of 21 U.S.C. § 856(a)(1) and 18 U.S.C. § 2; and aiding and abetting the

 possession of a firearm in furtherance of a drug trafficking crime, in violation of 18 U.S.C.

 §§ 924(c)(1)(A) and 2. As a result of the government's motion for a downward departure

 based upon petitioner's substantial assistance, she was sentenced to concurrent terms of

 imprisonment of 50 months on the drug convictions and a consecutive term of imprisonment

 of 60 months on the firearm conviction, for a total effective sentence of 110 months. [Doc.

 72, Judgment1]. Petitioner did not appeal her sentence.




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           All citations to the record refer to the docket sheet in petitioner's criminal case.

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        In support of her § 2255 motion, petitioner alleges she received ineffective assistance

 of counsel. The government objects to relief for petitioner pursuant to 28 U.S.C. § 2255.

 III.   Discussion

        In Strickland v. Washington, 466 U.S. 668 (1984), the United States Supreme Court

 established a two-part standard for evaluating claims of ineffective assistance of counsel:

        First, the defendant must show that counsel's performance was deficient. This
        requires showing that counsel made errors so serious that counsel was not
        functioning as the "counsel" guaranteed the defendant by the Sixth
        Amendment. Second, the defendant must show that the deficient performance
        prejudiced the defense. This requires showing that counsel's errors were so
        serious as to deprive the defendant of a fair trial, a trial whose result is reliable.

 Id. at 687.

        To establish that her attorney was not performing "within the range of competence

 demanded of attorneys in criminal cases," McMann v. Richardson, 397 U.S. 759, 771 (1970),

 petitioner must demonstrate that the attorney's representation "fell below an objective

 standard of reasonableness." Strickland v. Washington, 466 U.S. at 687-88. In judging an

 attorney's conduct, a court should consider all the circumstances and facts of the particular

 case. Id. at 690. Additionally, "a court must indulge a strong presumption that counsel's

 conduct falls within the wide range of reasonable professional assistance; that is, the

 defendant must overcome the presumption that, under the circumstances, the challenged

 action 'might be considered sound trial strategy.'" Id. at 689 (quoting Michel v. Louisiana,

 350 U.S. 91, 101 (1955)).




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        The two-part test of Strickland also applies to ineffective assistance of counsel claims

 in cases involving guilty pleas. Hill v. Lockhart, 474 U.S. 52 (1985); Sparks v. Sowders, 852

 F.2d 882 (6th Cir. 1988).

                We hold, therefore, that the two-part Strickland v. Washington test
        applies to challenges to guilty pleas based on ineffective assistance of counsel.
        In the context of guilty pleas, the first half of the Strickland v. Washington test
        is nothing more than a restatement of the standard of attorney competence
        already set forth in Tollett v. Henderson, [411 U.S. 258 (1973)], and McMann
        v. Richardson, [397 U.S. 759 (1970)]. The second, or "prejudice," requirement,
        on the other hand, focuses on whether counsel's constitutionally ineffective
        performance affected the outcome of the plea process. In other words, in order
        to satisfy the "prejudice" requirement, the defendant must show that there is
        a reasonable probability that, but for counsel's errors, he would not have
        pleaded guilty and would have insisted on going to trial.

 Hill, 474 U.S. at 58-59 (footnote omitted).

        The issue is whether counsel's performance "was so manifestly ineffective that defeat

 was snatched from the hands of probable victory." United States v. Morrow, 977 F.2d 222,

 229 (6th Cir. 1992) (en banc). Because she is seeking relief under § 2255, petitioner bears

 the burden of proving by a preponderance of the evidence that her counsel was deficient. See

 Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006).

        Petitioner alleges that her co-defendant, Tommy Morrell, repeatedly threatened and

 beat her and forced her against her will to commit the criminal offenses for which she was

 convicted.   She further alleges that her attorney advised her against disclosing that

 information to the Court at the time of her guilty plea and thus rendered ineffective assistance

 of counsel. She also alleges that counsel failed to share discovery materials with her and



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 therefore she lacked the information necessary for considering her options. These claims are

 contradicted in the record.

        The Plea Agreement, which was signed by petitioner, stipulated the facts underlying

 her guilty plea as follows:

               From about June, 2007, and through about August, 2007, the defendant
        allowed her home, located at 115 Baumgartner Drive, Roane County,
        Tennessee, to be used as place [sic] to manufacture and distribute cocaine base
        ("crack"). Specifically, defendant agreed to have Tommie Morrell utilize her
        house as a base of operations for his crack manufacturing and distribution
        business.

               Defendant knowingly allowed co-defendants Lockridge and Ward to
        serve as security inside the house. Co-defendants Lockridge and Ward would
        pat down prospective crack buyers before allowing them entry into defendant's
        home. Once deemed safe, the security team of co-defendants Lockridge and
        Ward would allow the crack buyers into the defendant's home so they could
        purchase crack from Tommie Morrell. Defendant knew that her home was
        being used to manufacture and distribute crack.

                Co-defendant Ward would further enhance the security operation inside
        the house by prominently displaying a firearm to prospective crack buyers
        before allowing them entry into defendant's home. Defendant knew that co-
        defendant Ward possess a firearm to further the activities of this drug
        trafficking conspiracy.

 [Doc. 39, Plea Agreement, p. 4, ¶ 4(a) - (c)]. There was no mention in the plea agreement

 that petitioner had been forced to engage in these criminal activities.

        In accepting petitioner's guilty plea, the Court fully complied with the plea colloquy

 procedure as mandated by Rule 11 of the Federal Rules of Criminal Procedure. [Doc. 91,

 Transcript of Change of Plea]. The Court first determined that petitioner was 44 years old

 with two business degrees. [Id. at 3]. The Court next determined that petitioner was


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 competent to enter a guilty plea. [Id. at 4]. The Court also determined that petitioner had

 ample opportunity to discuss the charges against her with her lawyer; that she had told her

 lawyer everything she knew about the case; that her lawyer had advised her as to the nature

 and meaning of the charges against her, the elements of the offenses charged, and her

 available defenses; that her lawyer had explained the terms of the plea agreement to her; and

 that she was satisfied with her attorney's advice. [Id. at 4-6].

        The Court then advised petitioner of the rights she was giving up by pleading guilty.

 [Id. at 6-7]. Petitioner was specifically asked whether any person had pressured her to plead

 guilty and whether any officer or agent of the government had suggested she would receive

 a lighter sentence by pleading; she answered "No, sir" to both questions. [Id. at 7]. At the

 Court's request, the government stated on the record the charges against petitioner, the

 elements of the offenses, the factual bases for the guilty plea, and the minimum and

 maximum penalties that petitioner was facing. [Id. at 8-11].

        Upon questioning by the Court, petitioner acknowledged her understanding of the

 charges against her and the elements of each charge, as well as the potential punishment. [Id.

 at 11-12]. Petitioner stated that she was pleading guilty because she was in fact guilty of the

 charges. [Id. at 13]. Again, there was no mention that petitioner was forced to engage in

 criminal conduct nor that she had been denied discovery materials.




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        The Court determined that petitioner understood her sentence would be determined

 by the Court after referring to the applicable sentencing guidelines and other relevant

 information, and that petitioner would not be permitted to withdraw her guilty plea based on

 the sentence she received. [Id. at 13-15]. The Court then accepted the guilty plea.

        The Court has observed the appearance of this defendant and her
        responsiveness to the questions asked. Based upon these observations and her
        answers, the Court finds that the Defendant, Ms. Lucretia Buchanan, is in full
        possession of her faculties and competent to plead guilty.

               The defendant is not under the influence of narcotics or other drugs or
        alcohol; the defendant knowingly waives her constitutional rights to trial and
        other rights accorded to persons accused of crime.

               The factual basis for the guilty plea has been established, and the
        Defendant understands the nature and elements of the offenses to which the
        plea is offered and the minimum and maximum penalties, as applicable,
        provided by law for the offenses. The defendant has offered to plead guilty
        knowingly and voluntarily.

 [Id. at 16].

        The Court of Appeals for the Sixth Circuit has held that a defendant's sentence will

 not be vacated on the ground that the plea of guilty was coerced or is otherwise illegal where

 the defendant was "carefully interrogated by the trial judge with respect to the offenses

 committed," where the defendant was represented by "competent counsel," and where the

 defendant "discussed the offenses freely and voluntarily and freely admitted guilt, while fully

 aware of [his] rights." United States v. Parker, 292 F.2d 2,3 (6th Cir. 1961). It is

 well-settled that where a Court scrupulously follows the requirements of Fed. R. Crim. P. 11,

 "'the defendant is bound by his statements in response to that court's inquiry."' Baker v.


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 United States, 781 F.2d 85, 90 (6th Cir. 1986) (quoting Moore v. Estelle, 526 F.2d 690,

 696-97 (5th Cir. 1976)). See also Warner v. United States, 975 F.2d 1207 (6th Cir. 1992)

 (defendant's "decision to lie to the district court cannot amount to prejudice").

        Petitioner had the opportunity to inform the Court of her claims that she was forced

 to engage in criminal conduct and that she was denied the opportunity to review discovery

 materials, and she failed to do so. Instead, petitioner freely admitted her guilt. In fact, in her

 § 2255 motion, petitioner states "I do not contest the commission of these crimes by myself

 and my co-defendants." [Doc. 85, Motion to Vacate, p. 5]. There is nothing in the record

 to suggest that petitioner's attorney gave her improper advice or that, absent her attorney's

 advice, she would have persisted in a plea of not guilty and gone to trial. Based upon the

 foregoing, petitioner has failed to demonstrate that she received ineffective assistance of

 counsel under the standard set forth in Strickland.

 IV.    Conclusion

        Petitioner is not entitled to relief under § 2255 and her motion to vacate, set aside or

 correct sentence will be DENIED. This action will be DISMISSED. The Court will

 CERTIFY that any appeal from this action would not be taken in good faith and would be

 totally frivolous. Therefore, this Court will DENY petitioner leave to proceed in forma

 pauperis on appeal. See Rule 24 of the Federal Rules of Appellate Procedure. Petitioner




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 having failed to make a substantial showing of the denial of a constitutional right, a

 certificate of appealability SHALL NOT ISSUE. 28 U.S.C. § 2253; Rule 22(b) of the

 Federal Rules of Appellate Procedure.

       AN APPROPRIATE ORDER WILL ENTER.



                                  s/ Thomas A. Varlan
                                  CHIEF UNITED STATES DISTRICT JUDGE




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